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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

   BMG RIGHTS MANAGEMENT (US) LLC,
   et al.,
                 Plaintiffs,
                                                      Civil No. 1:14-cv-1611 (LO / JFA)
                  v.

   COX COMMUNICATIONS, INC, et al.,

                         Defendants.


      ORDER GRANTING DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE
        PLAINTIFF’S COUNSEL FROM MAKING ARGUMENTATIVE AND
  INFLAMMATORY STATEMENTS AND LEGAL CONCLUSIONS DURING OPENING
                             STATEMENTS

         Before this Court is the Motion in Limine of Defendants Cox Communications, Inc. and

  CoxCom, LLC (collectively “Cox”) to Preclude Plaintiff’s Counsel from Making Argumentative

  and Inflammatory Statements and Legal Conclusions During Opening Statements. After

  considering this motion and the related filings, the Court is of the opinion that the Motion should

  be, and it hereby is, GRANTED.

         Counsel for BMG shall be precluded from referring to the alleged conduct as “stealing,”

  “illegal conduct,” “unlawful conduct,” and “illegal infringement,” or that Cox “aided and abetted”

  in any of this alleged behavior. BMG shall instead refer to the alleged conduct as an “alleged

  violation of the Copyright laws,” “alleged infringement of BMG’s Copyright rights,” or something

  similar. Separately, counsel for BMG is precluded from making the type of argumentative and

  inflammatory statements, including legal argument, that Cox outlines in its motion.




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  ENTERED this _______ of July, 2018.



  Alexandria, Virginia                      ____________________________
                                            The Honorable Liam O’Grady
                                            United States District Judge
                                            Eastern District of Virginia




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